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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     _______________________________________
 7                                          )
     NORTHWEST ADMINISTRATORS, INC., )                       Case No. MC20-0098RSL
 8                                          )
                           Plaintiff,       )
 9              v.                          )
                                            )                ORDER TO ISSUE WRIT OF
10   WEST CENTRAL PRODUCE, INC.,            )                GARNISHMENT
                                            )
11                         Defendant,       )
                v.                          )
12                                          )
     WELLS FARGO BANK NA,                   )
13                                          )
                           Garnishee.       )
14   _______________________________________)
15
           This matter comes before the Court on plaintiff’s “Application for Writ of Garnishment”
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     for property in which the defendant/judgment debtor, West Central Produce, Inc., has a
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     substantial nonexempt interest and which may be in the possession, custody, or control of the
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     garnishee, Wells Fargo Bank NA. The Court having reviewed the record in this matter, it is
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     hereby ORDERED that the Clerk of Court shall issue the Writ of Garnishment (Dkt. # 1-2)
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     submitted by plaintiffs’ counsel on October 28, 2020.
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22         Dated this 6th day of November, 2020.
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24                                            Robert S. Lasnik
25                                            United States District Judge
26


     ORDER TO ISSUE WRIT OF GARNISHMENT
